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                                                       EXHIBIT 1
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                                                                                    April 22, 2021


The Honorable Beryl A. Howell
United States District Court
For the District of Columbia


Dear Authority Beryl A. Howell,
The motive of this letter is to present myself, I am Jessica Johanna Oseguera Gonzalez’s mom, I
present before you as Rosalinda Gonzalez Valencia. I consider myself a hardworking person,
who worked to raise my children, because I could not study because I had to work since I was 14
years old in the United States, my jobs were in the field, in balers, cleaning houses, babysitting,
and in restaurants, all to be able to move on.
I remember that one Christmas Jessica led a fund collection between her friends to buy bicycles
and toys for the children of an impoverished neighborhood and it was very emotional to see the
children’s happy faces, as they said they would have never imagined receiving a gift for
Christmas. Other times various families got together, Jessica’s friends would make tamales and
delivered them to people who were sleeping at hospitals taking care of their ill at the hospital,
because they were people of scarce resources and did not have money to buy food every day.
That is why Judge I ask you from my heart to be fair with my daughter Jessica’s judgment,
because we miss her very much, her children [miss her], her nieces and all her friends [miss her].
Her kids especially miss her a lot, her daughter of only 5 years cries because of her absence, and
her son is sad. Still, with the advice of his mom, he continues to do well in school and sports.
Because Jessica was always on top of them and has always been a good mother.




Thank you for your time and attention, I say goodbye.
Rosalinda Gonzalez Valencia
